

Matter of Fisher v Board of Elections in the City of N.Y. (2025 NY Slip Op 02748)





Matter of Fisher v Board of Elections in the City of N.Y.


2025 NY Slip Op 02748


Decided on May 06, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 06, 2025

Before: Moulton, J.P., Friedman, Scarpulla, O'Neill Levy, Michael, JJ. 


Index No. 155021/25|Appeal No. 4454|Case No. 2025-02598|

[*1]In the Matter of Corinne E. Fisher, Petitioner-Appellant,
vThe Board of Elections in the City of New York, Respondent-Respondent.


PEM Law LLP, New York (Maria R. Fruci of counsel), for appellant.
Muriel Goode-Trufant, Corporation Counsel, New York (Grace Pyun of counsel), for respondent.



Judgment, Supreme Court, New York County (Jeffrey H. Pearlman, J.), entered April 28, 2025, unanimously affirmed for the reasons stated by Jeffrey H. Pearlman, J., without costs or disbursements.
No opinion. Order filed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 6, 2025








